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          (PETITION FOR WRIT OF HABEAS CORPUS UNpER 28 U.S.C. § 2241 BY A PERSON IN STATE OIUEJJ~R Affjuf#<Yfi)
                                                                      .                         u;:,ui,:"C[l:h,t FLORENCE. SC
                                                                                                                              -
                                                                                                                              ~,




                                   IN THE UNITED STATES DISTRICT COURT                          lO_ll FEB I 2 AH 10: 52
                                   FOR THE DISTRICT OF SOUTH CAROLINA


         RICARDO CRUZ SERRAN0,44821-069)
             Petitioner                                          )
    FEDERAL PRISON CAMP                                          )
                                                               )
                                                                                       2:21-cv-00461-JFA-MGB
                                                                     Civil Action No.
    P.O. BOX 699                                               )
                                                                                         ---------
                                                                            (to be assigned by Court)
                                                                )
    ESTILL, SC 29918                                            )
    (Full name under which you were convicted;                 )
    prison number; place of confinement; and                   )
    full mailing address                                       )
                                                               )
    vs.                                                        )      Petition for Writ of Habeas Corpus
                                                               )     Pursuant to 28 U.S.C. § 2241
    STEVIE KNIGHT, WARDEN                                      )
         Respondent(s) CAMP                                    )
    MELISSA FORSYTH, ADMINISTRATOR                             )
                                                               )
                                                               )
    (Name of Warden or other authorized                        )
    person having custody of petitioner)                       )
                                                               )


    Read the instructions attached to this form before using this form. Also, read the entire petition form
    befor-e-a-fi-1-lmg-it-aat-rAnswel' a:U-ef""'."1:h.crguesti-onS;;placing:a-:NfA-:for..:those-:guestrons=wliieli-iie-ne'tt::::·=======::==
    a:gply to your claim(s),


    1.     This petition concerns: (Check applicable blank.)
                 a federal conviction
                 a federal sentence
          __ pre-trial detention
          __ parole
          __ prison disciplinary action or other action resulting in loss of good-time credits




                                                             1
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          _           sentence calculation or loss of sentence credits by prison
          .JL_other(explainbriefly) Earned-Time credits per the First Step Act,
                      18 U.S.C. § 3632(d)(4)(A).




                                          BACKGROUND INFORMATION


2.        Your Place of Confinement (check applicable blank):
      __!__ federal prison
      _ _ state prison
      _ _ local jail or detention center
      _ _ mental healtll facility .
      _ _ other (explain briefly)




3.    If you have been convicted and sentenced, provide the following information:
      a.          Name and location of court which imposed sentence:
                      U.S. DISTRICT COURT, SAN JUAN, P·. R.


      b.                                 CR .13-112 (JAG)
                  Criminal case number: -=.::.:..:..:::.:.....::.::.=.a-=.;.:~-------------
      c.          Charge(s) on which you were convic~~d:          841 ( B) ( 1) (A)-924( C) ( 1) (A) (I) __
     ..       --· .   •-




      d.          Your plea was ( check one):
                  _ _ not guilty
                  _gw
                  X  'lty
                             nolo contendere
     e.           If you were found guilty after a plea of not guilty, that :finding was made by (check one):
                  _ _ ajury
                  _ _ a United States District Judge without a jury
                 _ _ a United States Magistrate Judge without a jury
                           N/A
                                                          2
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        f.      Date upon which sentence.was imposed and the tenns of the sentence:
                                                                                                 -----
                12-02-2015
                181 MONTHS/ 10YEARS SUPERVISED RELEASE
  4.    If you are awaiting trial on criminal charges, provide the following infonnation:
        a.    Name and location of court in whicli charges are pending: _N_/_A_______



        b.     Criminal case number: N/ A
        c.
                                          ---------------------
               Charge(s) that are pending against you:            N/A




        d.     Your attorney's name, address, and telephone number: _N__/_A_ _ _ _ _ _ __



 5.     If you are detained in a mental health facility, provide the following infonnation:
        a.    How you were committed:
              _ _ by a court for evaluation
              _ _ by a court after be~g found not criminally responsible
              __ involuntary civil commitment
              __ other (explain briefly) _N_/_A_ _ _ _ _ _ _ _ _ _ _ _ _ _ __



        b.     When were you committed? ___N           .......A " " - - - - - - - - - - - - - - - -
. 6..   Are Y:OJLp.z:esently...represented..hy-an~ttC:lmey-in..any-:-casef~}.:r.elate.d::te-=1-em--Jmprisonment9':I==-========:::=::
        _YES~NO
        If yes, explain what case(s) and list the name, address, and phone number of your attomey(s):




             PRIOR LEGAL ACTIONS CHALLENGING CONVICTION/SENTENCE


 7.     For federal prisoners, did you appeal the judgment of conviction or imposed sentence
        which you are currently serving?



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          _JLYES_NO
          If yes, provide the following appellate court information:
          a. Nameofcourt: U.S. DISTRICT COURT, SAN JUAN, P.R.
          b. Case number: CR .13-112 (JAG)
          c.    Date filed:        12-02-2015
          d. Result (affirmed, dismissed, still pending): _P_E_N_D_I_N_G_ _ _ _ _ _ _ _ __
          e.    Date of order giving result: _ _N..._/_A_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          £       Legal case citation or opinion number (if known):

     Note: If you filed more than one appeal, attach an additional sheet of the same size and give all
    the infonnation requested in Question 7, a through f, for each appeal. On the continuation page,
    use number 7, a through f, to number your responses.

     8.   For federal prisoners, have you filed a motion(s) under 28 U.S.C. § 2255 with respect to
          the challenged conviction(s) or sentence(s)?
          ___x_YES _NO
          If yes, provide the following information for each § 2255 motion:
          a. Name of court: U.S. DISTRICT COURT, SAN JUAN P.R.
          b. Casenumber: CR.13-112(JAG)
          c. Date filed:           11 - 2 8 - 2018
          d. Result (affirmed, dismissed, still pending): _P_E_N_D_I_N_G_ _ _ _ _ _ _ _ __
          e. Date of order giving result: _____N'""'"""A_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          f.     Case citation or opinion number (if known): _ _ _ _ _ _ _ _ _ _ _ _ __

          g.     Groundsraised(listeachone): INNEFFECTIV_E ASSISTANCE OF COUNSEL




    Note: If you filed more than one motion, attach an additional sheet of the same size and give
    all the information requested in Question 8, a through g, for each motion. On the continuation
    page, use number 8, a through g, to nump~:r.your responses.

    ·9.   For federal prisoners, if you did not file a motion under 28 U.S.C. § 2255, or if you filed a
          §2255 motion and it was denied, state why your remedy under § 2255 is inadequate or
          ineffective to test the legality of your detention.
                      N/A STILL PENDING
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10.   For federal prisoners, have you filed previous petitions for habeas corpus, or any other
      applications, petitions, or motions (other than§ 2255) with respect to the challenged
      conviction(s) or sentence{s)?
      _YES_NO
      If yes, provide the following information for each case or motion:
      a.    Type of case or motion: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      b.   · Name of Court:

      c.
      d.
           Case number:
           Date filed:
                           -------------------------
      e.   Result (affirmed, dismissed, still pending): _ _ _ _ _ _ _ _ _ _ _ _ __
      f.   Date of order giving result:
      g.    Case citation or opinion number (if known): - - - - - . - - - - - - - - - -

Note: If you filed more than one case or motion, attach an additional sheet of the same size and
give all the information requested in Question 10, a through g, for each case or motion. On the
continuation page, use number 10, a through g, to number your responses.

 11. For federal prisoners, have you sought a certificate of appealability regarding denial of a
      motion under 28 U.S.C. § 2255, or petitions for habeas corpus, or any other applications,
      petitions, or motions with respect tp the challenged conviction(s) or sentence{s)?
            YES_NO
      If yes, give the following information for each request for certificate of appealability:
      a.    Name of Court:
      b.    Result:
      c.    Date of Result:
      d.
                            ------------------------
            Citation or number of opinion:
Note: If you requested a certificate of appealability more than once, attach an additional sheet
of the same size and give all the information requested in Question 11, a through d for each
request. On the continuation page, use number 11, a through d, to number your responses.

                              ADMINISTRATIVE PROCEEDINGS
12. If you are challenging a Federal Bureau of Prisons decision, did you file a request and
    appeal through all of the available procedures in the administrative remedy program?
    ___x_YES_NO

                                                5
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           a.    If yes, did you seek an informal resolution of your complaint, the initial step under 28
                 C.F.R.. § 542.13?
                 ~YES_NO
           b.    If yes, did you file a formal Request(s) for Administrative Remedy (Form BP-9)
                 concerning the BOP decision?
                 ~YES_NO
       c.        If yes, did you file an Administrative Remedy Appeal (Form BP-10)?
                 ___!_YES ___NO
       d.        If yes, did.you file a "final administratjve appeal" under 28 C.F.R. § 542.15
                 concerning the BOP decision?
                 _YES_I_NO (FUTILE)
       e.        If you answered no to any section of ~s question, explain why you did not use any
                 available procedures in the remedy program:. Any further exhaustion would
                  be futile due to a narrow dispute of statutory construction
                   which is exempt from the exhaustion process.




13.   If you are challenging a South Carolina Department of Corrections decision, did you file a
      request and appeal through all of the availab~e procedures in the prisoner grievance system?
      _YES_NO
      a.    If yes, list the prisoner grievance procedures you pursued: ___N_/_A_ _ _ _ __




      b.        If no, explain. whyyoirdid-riotuse-any-avai:laole-precedtnies~in=th--e=_pl::istm-ei:::gtic::v.an.-ce=:::::::::::======
                ~ystem:
                      N/A




      c.        Did you appeal the :final decision of the South Carolina Department of Corrections to
                the South Carolina Administrative Law Court?
                _YES_NO                        N/A



                                                           6
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..
             d.    Explain why, if you answered no: _N_/_A_ _ _ _ _ _ _ _ _ _ _ _ _ __


             e.    Did you appeal the final decision of the South Carolina Administrative Law Court to
                   the South Carolina Court of Appeals?
                  _YES_NO
             f.    Explain why, if you answered no: _N_/_A_ _ _ _ _ _ _ _ _ _ _ _ _ __


             g.   Did you appeal the final decision of the South Carolina Court of Appeals to the South
                  Carolina Supreme Court?
                  _YES_NO
             h.   Explain why, if you answered no: __._N..._._..___ _ _ _ _ _ _ _ _ _ _ _ __
      14.   If you are a prisoner challenging a parole revocation decision, complete the following:
            a.
             b.
                  Date of revocation decision:
                                                  -------------------
                                                   N/ A
                  Did you appeal the revocation decision?
                  _YES_NO
            c.    If yes, what appellate process did you pursue (ie. what court :filed in; result; if further
                  appeal was filed):
                            N/A




            d.    If you did not appeal the revocation, explain why you didn't appeal:




                                    GROUNDSFORHABEASRELIEF

     15.    State concisely every ground on which you claim that you are being held unlawfully.
            Summarize briefly the facts supporting each ground. Conclusions that are not supported by




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 specific facts are insufficient. If necessary, attach additional pages to raise additional
 grounds or provide additional facts. Do not cite any lavy in your statement of facts.
 a.    Ground One:
         Federal Correctional Institution Estill is a facility within
         the Federal Bureau of Prisons has failed to apply his earned
         time credits for "Evidence-Based Recidivism Reduction Pro-
         g~amming" under th~-- First Step· Act, '18
                                   -..=..~"':"';-..C:   •       •   •
                                                                              u·.s.c.    § 3632(d)(4)(A).
          Supporting FACTS: (state briefly without citing cases or law.) .
         A review of Petitio~er's Sentence Co~putation Sheet does
         not reflect the "Earned-Time" credits.



         Have you presented Ground One in a prior court action or administrative proceeding?
         _x_YES_NO
         If yes, explain what court action or administrative proceeding, the result,. and date of
         the result, including any appeals:                                                    ·
         BOP Administrative Re~e?y Process (See attached Exhibit AA)




b.       Ground Two:                                                      t;;) ·
         Petitioner's sentence duration has be~mpacted by the BOP's
     =       .     ·---
         fai""Iure to credit his sentence.



         Supporting FACTS:




     Have you presented Ground Two in a prior court action or administrative proceeding?
         X YES_NO


                                                            8
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             If yes, explain what court action or administrative proceeding, the result, and date of
            the result,
            BOP                            eme d y Process ( See attached Exhibit AA)
                        including Bl!Y apRReals:
                  Administrative




      c.    Ground Three:
            FCI Estill is not meeting its performance requirements under
            Section 3621(h)(3).



            Supporting FACTS:
            The BOP pursuant to the statute mus·t apply ·the Petitioner's
            earned time cre4}:.s for participation.



            Have you presented Ground Three in a prior court action or administrative proc-.eeding?
            _!_YES_NO
            If yes,. explain what cqurt action or administrative proceeding, the result, and date of
            the result, including any appeals:
            BOP Administrative Remedy Process (See attached Exhibit AA)




                                              RELIEF
16.   Petitioner asks that the Court grant the following relief:
           The Court should order that BOP grant Petitioner 365 days
           and any other relief deemed applicable.




                                                  9
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Petitioner also requests any other relief to which petitioner may be entitled in this proceeding.
(Money damages are not an available remedy in habeas corpus cases.)

I declare, certify, verify, and state under penalty of perjury--that the foregoing is true and
correct.


Signed this _ _9...:.~---
                  (day)




                                                                      Signature of Attomey(if any)




                                                 10
